                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

      v.                                                Case No. 99-CR-168

VICTORIA EDWARDS,
              Defendant.


                                  DECISION AND ORDER

      Defendant Victoria Edwards filed a request for early termination of her supervised

release. See 18 U.S.C. § 3583(e)(1). I provided the government an opportunity to respond,

but it has not done so. I now deny the request.

                                              I.

      Defendant pleaded guilty to conspiracy to possess with intent to distribute five kilograms

or more of cocaine. On April 23, 2002, I sentenced her to 18 months in prison based on the

government’s U.S.S.G. § 5K1.1 motion, followed by five years of supervised release.

Defendant was released from prison and commenced her supervision on October 2, 2003.

      In 2006, defendant filed a motion to terminate and/or modify her supervision to eliminate

the community service condition. I denied the motion but permitted her to complete community

service during non-working hours at her place of employment. Defendant is scheduled to

discharge from supervision on October 1, 2008.

      In the instant motion, defendant indicates that she has completed all ordered community

service, continues to work and further her education, and has otherwise been compliant with

her conditions. She indicates that she has made changes in her life to ensure that she does



    Case 2:99-cr-00168-LA      Filed 03/16/08      Page 1 of 4   Document 634
not re-offend and associates with few people outside her family. She states that she has come

to realize the damage drugs do to the community.

                                               II.

       Section 3583(e)(1) provides that the court may:

       terminate a term of supervised release and discharge the defendant released at
       any time after the expiration of one year of supervised release, pursuant to the
       provisions of the Federal Rules of Criminal Procedure relating to the modification
       of probation, if it is satisfied that such action is warranted by the conduct of the
       defendant released and the interest of justice[.]

Thus, the court may terminate a defendant’s supervised release if (1) she has served at least

one year; (2) considering the sentencing factors in 18 U.S.C. § 3553(a) as well as the

defendant’s conduct, termination is in the interests of justice; and (3) the government is given

notice and an opportunity to be heard. See United States v. Medina, 17 F. Supp. 2d 245, 245

(S.D.N.Y. 1998).

       The conduct of the defendant necessary to justify early termination must include more

than simply following the rules of supervision. Otherwise, every defendant who avoided

revocation would be eligible for early termination. Instead, termination is generally granted only

in cases with a new or unforeseen circumstance, such as where the defendant’s conditions

unreasonably impede her rehabilitation or where the defendant’s behavior has been

exceptionally good. See, e.g., United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997);

Medina, 17 F. Supp. 2d at 246-47; see also United States v. Caruso, 241 F. Supp. 2d 466,

468-69 (D.N.J. 2003) (stating that early termination of probation is not warranted based on

“mere compliance with the terms of probation” but rather “only in cases where the defendant

demonstrates changed circumstances, such as exceptionally good behavior”).



                                                2


    Case 2:99-cr-00168-LA        Filed 03/16/08      Page 2 of 4   Document 634
                                               III.

       Early termination is not warranted in this case. While defendant has generally been

compliant, the probation office previously noted some difficulty in obtaining compliance with the

community service condition. In any event, even perfect compliance does not necessarily

warrant early termination. The court expects those on supervised release to work and follow

the rules. Defendant makes no showing that her performance has been exceptionally good

or that the conditions of supervised release impede her rehabilitation or impose any other

undue hardship.

       Further, given the seriousness of the offense, early termination would not be in the

interest of justice. Defendant participated in a conspiracy involving a substantial amount of

cocaine, but her prison sentence was far below the guidelines based on her cooperation. To

terminate supervision early and, in effect, reduce the sentence further would depreciate the

seriousness of the crime. See 18 U.S.C. § 3553(a)(2)(A). Her prior record is limited and,

based on her performance on supervision, defendant does not appear to present a risk of

recidivism. However, given the nature of the offense and defendant’s past substance abuse

issues, it is appropriate to require defendant to serve out her supervision term to ensure the

protection of the public.   See 18 U.S.C. § 3553(a)(2)(C).          Defendant appears to have

addressed her correctional treatment needs, see § 3553(a)(2)(D), but supervision still serves

the purposes of protecting the public and deterring defendant from possibly re-offending, see

§ 3553(a)(2)(B) & (C).




                                                3


    Case 2:99-cr-00168-LA       Filed 03/16/08        Page 3 of 4   Document 634
                                   IV. CONCLUSION

      THEREFORE, IT IS ORDERED that defendant’s request to terminate supervised

release (R. 621) is DENIED.

      Dated at Milwaukee, Wisconsin, this 16th day of March, 2008.


                                       /s Lynn Adelman
                                       ______________________________
                                       LYNN ADELMAN
                                       District Judge




                                           4


    Case 2:99-cr-00168-LA     Filed 03/16/08   Page 4 of 4   Document 634
